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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


JOSEPH P. LUDVIGSON,                )
                                    )
               Plaintiff,           ) No. 1:07-cv-00652 (RMC)
                                    )
         v.                         )
                                    )
UNITED STATES,                      )
                                    )
               Defendant.           )

                                          ORDER

         Having considered the UNITED STATES’ MOTION TO DISMISS, the supporting

memorandum of points and authorities, any opposition and reply thereto, and the

entire record of this proceeding, it is by the Court

         ORDERED that the motion is GRANTED;

         ORDERED that this action be, and is, DISMISSED; and it is further

         ORDERED that the Clerk shall distribute copies of this order to the persons listed

below.

         SO ORDERED this         day of                2007.



                                    _________________________________
                                     UNITED STATES DISTRICT JUDGE
        Case 1:07-cv-00652-RMC Document 4-1 Filed 07/06/07 Page 2 of 2




COPIES TO:
BEATRIZ T. SAIZ
Trial Attorney, Tax Division
U. S. Department of Justice
Post Office Box 227
Washington, DC 20044

JOSEPH LUDVIGSON
c/o General Delivery
210 North 3rd Street
Effingham, IL 62401
